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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
––––––––––––––––––––––––––––––––X
CYNTHIA PANARELLA,

                                                          Plaintiff,         NOTICE OF REMOVAL
                             -against-                                       Case No. 19-cv-6646

NEW YORK CITY DEPARTMENT OF EDUCATION,
UNITED FEDERATION OF TEACHERS, and
KASANDRA LOPEZ-GARCIA

                                                    Defendants.

––––––––––––––––––––––––––––––––X
TO:     THE UNITED STATES DISTRICT COURT,
        EASTERN DISTRICT OF NEW YORK

                 Defendant, the Department of Education of the City of New York (“DOE”) 1, by

and through its attorney James E. Johnson, Corporation Counsel of the City of New York,

respectfully move this Court, with the consent of Defendants United Federation of Teachers and

Kasandra Lopez-Garcia as follows:

                 1.       On or about November 6, 2019, Defendant DOE received by personal

service on the Office of the Corporation Counsel a Summons and Complaint filed in the

Supreme Court of the State of New York, County of Richmond, under Index No. 152429/19 with

DOE, United Federation of Teachers, and Kasandra Lopez-Garcia as the Defendants therein, and

setting forth the claims for relief upon which the action is based.

                 2.       A copy of Plaintiff’s Summons and Complaint is annexed hereto as

Exhibit “A.”




1
 “New York City Department of Education” is formally the Board of Education of the City School District of the
City of New York, as defined and existing pursuant to the New York State Education Law.
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               3.      Plaintiff brings this action alleging, inter alia, that Defendants DOE,

violated her rights under the Americans with Disabilities Act (“ADA”), 42 U.S.C. § 12101, et

seq., by failing to accommodate her disabilities. See Exhibit “A.”

               4.      The above-captioned action is a civil action of which the District Court

has original jurisdiction pursuant to 28 U.S.C. § 1331, in that it alleges claims which arise under

the laws of the United States. This action is therefore removable to the District Court without

regard to the citizenship or residence of the parties, pursuant to 28 U.S.C. §§ 1441 and 1443.

               5.      This Notice of Removal is timely because it is being filed within thirty

days of Defendant’s receipt of the Summons and Complaint. See 28 U.S.C. § 1446 (b).

               6.      Pursuant to 28 U.S.C. §1466(d), counsel for Defendant DOE shall

promptly provide plaintiff with written notice of the filing of this Notice of Removal, and shall

file a copy of this Notice of Removal with the Clerk of the Supreme Court of the State of New

York, County of Richmond.

               7.      Defendant DOE reserves all claims and defenses, including, without

limitation, those set forth in Rule 12(b) of the Federal Rules of Civil Procedure

               8.      Defendant DOE is unaware of any previous application for the relief

requested herein.

               WHEREFORE, Defendants respectfully request that the above-captioned action

be removed from the Supreme Court of the State of New York, County of Richmond, to the

United States District Court for the Eastern District of New York.

Dated:         New York, New York
               November 25, 2019




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                                   JAMES L. JOHNSON
                                   Corporation Counsel
                                    of the City of New York
                                   Attorney for Defendant
                                   100 Church Street, Room 2-109(d)
                                   New York, New York 10007
                                   (212) 356-4382
                                   rquinn@law.nyc.gov


                                   By:           /s/
                                          Rebecca G. Quinn
                                          Assistant Corporation Counsel

TO:   BY MAIL

      Jonathan B. Behrins
      THE BEHRINS LAW FIRM
      Attorneys for Plaintiff
      1491 Richmond Rd.
      Staten Island, NY 10304




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                             EXHIBIT A
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            SUPREME COURT OF THE STATE OF NEW YORK                                      SUMMONS
            COUNTY OF RICHMOND
            --------------------------------------------------------------------x       Index # ______________
            CYNTHIA PANARELLA,
                                                                                        Date
                                                        Plaintiff,                      Purchased: October 18, 2019

                    - against -
                                                                                        Plaintiff designates Richmond County
            NEW YORK CITY DEPARTMENT OF EDUCATION                                       as the place of trial; the basis of the
            UNITED FEDERATION OF TEACHERS, and                                          venue being the place where the cause
            KASANDRA LOPEZ-GARCIA                                                       of action arose and/or residence.

                                                         Defendant.
            --------------------------------------------------------------------x


          To the above named defendant:

                  PLEASE TAKE NOTICE THAT YOU ARE HEREBY SUMMONED to appear in this
          action by serving a notice of appearance on the Plaintiff(s) at the address set forth below within
          20 days after the service of this Summons (not counting the day of service itself), or within 30
          days after service is complete if the summons is not delivered personally to you within the State
          of New York.

                  YOU ARE HEREBY NOTIFIED THAT should you fail to answer or appear, a judgment
          will be entered against you by default for the relief demanded below.

          Dated: Staten Island, New York
                 October 18, 2019
                                                                                ______________________________
                                                                                Jonathan B. Behrins
                                                                                THE BEHRINS LAW FIRM
                                                                                Attorneys for Plaintiff
                                                                                Office & P.O. Address
                                                                                1491 Richmond Road
                                                                                Staten Island, New York 10304
                                                                                (718) 447-5541

          Defendants’ addresses:
          NYC Department of Education                                               United Federation of Teachers
          52 Chambers Street                                                        52 Broadway
          New York, New York 10007                                                  New York, New York 10004

          Kasandra Lopez-Garcia
          80 Maple Parkway
          Staten Island, New York 10303




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         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF RICHMOND
         --------------------------------------------------------------------x
         CYNTHIA PANARELLA,
                                                                                 Index #
                                                     Plaintiff,
                                                                                 VERIFIED
                 - against -                                                     COMPLAINT
         NEW YORK CITY DEPARTMENT OF EDUCATION
         UNITED FEDERATION OF TEACHERS, and
         KASANDRA LOPEZ-GARCIA
                                                      Defendant.
         --------------------------------------------------------------------x

                  The plaintiff, by her attorneys, The Behrins Law Firm, complaining of the defendants,

          alleges as follows:

                        NATURE OF ACTION, PARTIES, JURISDICTION AND VENUE

             1. This is an action arising under the Americans with Disabilities Act, 42 U.S.C. Section

                  12181, et seq., Section 6, and New York City Human Rights Law, asserting claims for

                  violations of the foregoing statutes, including unlawfully denying the plaintiff medical

                  leave in violation of the plaintiff’s contract with defendants as well as breach of contract,

                  and prima facie tort.

             2. Jurisdiction is proper pursuant to CPLR Section 301

             3. Venue is proper pursuant to CPLR Section 503.

             4. That Plaintiff, CYNTHIA PANARELLA, at all relevant times herein, was and is a

                  resident of the State of New York, County of Richmond.

             5. That Defendant, New York City Department of Education (“DoE”) was, at all relevant

                  times herein, the department of the government of New York City that manages the city’s

                  public school system.




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             6. That the plaintiff, CYNTHIA PANARELLA, was employed by defendant Department of

                Education from 1996 until her forced retirement in 2018.

             7. That Defendant, United Federation of Teachers (“UFT”) was, at all relevant times herein,

                the sole bargaining agent for most of the non-supervisory educators who work in the New

                York City public schools.

             8. That Defendant Kasandra Lopez-Garcia was, at all relevant times herein, the Principal of

                P.S. 44.

             9. That Defendants DoE and UFT are contractually bound pursuant by a Collective

                Bargaining Agreements and addenda.

             10. The actions complained of herein all occurred within the State of New York.

             11. The plaintiff has fully complied with all prerequisites to jurisdiction in this Court.

             12. On June 25, 2019, the plaintiff filed a charge of discrimination with the EEOC.

             13. On July 18, 2019, the plaintiff received a right to sue notice from the EEOC.

                         FACTS AND ALLEGATIONS COMMON TO ALL COUNTS

             14. The plaintiff, Cynthia Panarella, began her employment with the defendant, New York

                City Department of Education, in 1996, as a paraprofessional.

             15. The plaintiff is licensed in Special Education and has been a Special Education teacher

                since September 2002.

             16. The plaintiff is currently 67 years old.

             17. At all relevant times herein, the plaintiff was a teacher at P.S. 44, located at 80 Maple

                Parkway, Staten Island, New York 10303.

             18. Throughout her career, the plaintiff was an exemplary employee and teacher with an

                unblemished record, and was well liked by her colleagues.




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                                              RIGHT KNEE INJURY

             19. As part of the plaintiff’s daily routine for the 2011/2012 school year, the plaintiff would

                shepherd her students between floors. It was a daily occurrence whereby the plaintiff

                would lead her students up and down multiple flights of stairs several times a day.

             20. In or about June 2012, as the plaintiff approached the area of the teachers’ lounge, she

                slipped on water causing her to land forcefully on her right knee. The plaintiff could not

                get up without the assistance of her para.

             21. The plaintiff immediately reported the incident to her superiors.

             22. The day after the incident, the plaintiff saw her primary physician, to whom she reported

                burning pain in her thigh as well as knee pain. The plaintiff was prescribed anti-

                inflammatory medication.

             23. Two weeks later, at the plaintiff’s follow up appointment with her primary care

                physician, she informed her doctor that the medication was not working, so the doctor

                prescribed physical therapy, which was also unsuccessful.

             24. In or about July 2012, the plaintiff saw a specialist, who prescribed MRIs of her neck,

                back, and knee. The films revealed a torn meniscus (which had been torn and repaired in

                the Summer of 2011), as well as five bulging discs in her back and neck.

             25. On or about November 2012, the plaintiff’s specialist faxed her MRI reports to the school

                and advised that the plaintiff required surgery and informed the school that the plaintiff

                should not go to work if icy conditions existed.

             26. Also, during the summer of 2012, the plaintiff suffered from severe vertigo.




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              27. As the plaintiff’s medical bills mounted, the claims submitted to the appropriate

                  authorities at the DoE were ignored for a period of years. During the Summer of 2015,

                  the plaintiff resorted to calling HR Connect1 repeatedly to gain approval for surgeries

                  deemed necessary by her doctors. Her repeated calls to HR Connect never even garnered

                  a single return call.

              28. Both defendant DoE and defendant UFT failed to act or respond in any way toward

                  resolving clearance and payment of the plaintiff’s deteriorating physical condition,

                  thereby causing exacerbation to her then existing injuries. The plaintiff’s pain increased

                  and pain treatment was ineffective.

              29. On September 4, 2018, the plaintiff emailed the principal, Ms. Lopez-Garcia, a copy of

                  her surgeon’s diagnosis, prognosis, date of leave, and expected date of return. The

                  plaintiff advised Principal Lopez-Garcia that she would be coming to work September 4,

                  5, and 6. The principal acknowledged receipt of the plaintiff’s communication.

              30. On September 7, 2018, the plaintiff underwent a full replacement of her right knee.

              31. Several weeks after the plaintiff’s knee replacement operation, the plaintiff received a

                  certified letter from Principal Lopez-Garcia stating that she did not know of the plaintiff’s

                  whereabouts since September 7, 2018. The letter further indicated that the plaintiff must

                  return to work or be removed from payroll and medical coverage.

              32. On or about the same time that the aforementioned letter was received from Lopez-

                  Garcia, an SCI investigator went to the plaintiff’s house while she was not home and left

                  his card in her door. The plaintiff called to find out what the matter was, but the plaintiff

                  was simply advised to stop by the SCI office and was not given any more details.


          1
            HR Connect is a web portal for New York City DoE employees for information regarding human resources related
          issues such as benefits, leaves of absence, certification, payroll, and personal and tax data changes.


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            33. The plaintiff called the UFT and was directed to call the UFT’s counsel regarding the

               charges against her. The paralegal informed the plaintiff that Lopez-Garcia claimed that

               the plaintiff was witness to the payroll secretary changing the codes in the plaintiff’s

               Cumulative Absence Record (“CAR”), and that was the reason why the plaintiff was to

               report to the SCI investigator. What the plaintiff discovered is that the payroll secretary

               was directed by Lopez-Garcia to change the plaintiff’s CAR in order to deprive her of 92

               sick days that she had accumulated by falsely claiming that the plaintiff had used. The

               plaintiff never saw the payroll secretary (or anyone) change anything in her CAR.

                                              LEFT TOE INJURY

            34. On or about March 21, 2014, while the plaintiff was still suffering from a right torn

               meniscus that was going untreated because the defendants were not granting approval for

               her medical treatment, the plaintiff was still required to travel between floors several

               times a day. A student shoving match caused injury to the plaintiff’s left foot, resulting in

               a titanium screw in the plaintiff’s big toe becoming dislodged.

            35. The plaintiff reported the incident timely and filed for Line of Duty Injury (“LODI”)

               Leave. For the ensuing four plus years, the plaintiff repeatedly asked for approval for

               surgery, but experienced the same rejection by the defendants’ complete silence. The

               plaintiff would repeatedly and constantly contact the DoE to obtain approval for the

               surgery. The plaintiff went directly to the Deputy Chancellor. The plaintiff went directly

               to her then Principal, Joseph Miller. Not one person could help the plaintiff so much as

               find the right person to speak to.

            36. The plaintiff finally had the titanium screw reinserted in May 2018.




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            37. After over four years, the defendants finally accepted the plaintiff’s Line of Duty Injury

               (“LODI”) request, only after the plaintiff’s toe deteriorated to the point where she could

               no longer walk. However, there is a distinct difference between accepting the application

               and approving it. Ultimately, HR Connect denied LODI. The plaintiff missed work from

               January 27, 2018 until August 1, 2018, and all of those missed days were considered

               absences.

            38. On or about August 1, 2018, the plaintiff filed for arbitration on the denial of her multiple

               LODI requests, which the UFT said would take anywhere from “six months to a year.”

               As of the filing of this complaint, the plaintiff has yet to even receive an arbitration date,

               let alone a ruling.

            39. The plaintiff sought to file a grievance regarding HR Connect’s decision, but the UFT

               representative advised the plaintiff she could not do so. This was false information

               contradictory to the CBA.

            40. Another UFT representative submitted an “et al grievance” for all UFT members with

               denied LODI claims. The plaintiff asked the representative to add her name to the

               grievance, but he told the plaintiff to speak to the representative from paragraph 39. That

               representative refused to file the grievance on the plaintiff’s behalf on the basis that the

               UFT liaison to HR Connect said there is no grievance.

                                              LEFT KNEE INJURY

            41. On or about December 23, 2015 the plaintiff took her class to the Christmas show in the

               auditorium. An autistic student of the plaintiff’s was awaiting the mandatory para he was

               required to have, but no para had been assigned since the beginning of the school year.

               Putting the student’s interests first, the plaintiff intended to sit next to the student for the




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                show. For safety’s sake, another para from the plaintiff’s class sat on the other side of the

                student. When the autistic student pulled down a seat for the plaintiff without her

                knowledge, she banged her left knee into the seat, causing injury.

            42. On or about February 8, 2017, the plaintiff was walking from the auditorium to the

                playground stairs. A first grader was walking on the handrail and could have fallen,

                injuring himself and several of his classmates. The plaintiff took the student by his hand

                to make sure he did not hurt himself or anyone else. He reacted by repeatedly kicking the

                plaintiff’s already injured left knee.

            43. On or about February 15, 2017, another student kicked the plaintiff’s left knee.

            44. As a result of the three injuries to the plaintiff’s left knee, she sustained repeated

                exacerbation of the initial left knee injury requiring pain injections, medication, and,

                ultimately, surgery.

            45. The plaintiff again filed for LODI, medical leave, and approval for surgery, all of which

                was denied. The LODI claim was denied because the plaintiff had a “previous condition

                or disease,” thus creating a Catch-22.

            46. Ultimately, the plaintiff’s knee deteriorated to the point where surgery was an immediate

                necessity. On January 27, 2018, the plaintiff underwent surgery on her left knee.

            47. Defendant UFT again thwarted the plaintiff from filing a grievance, but the plaintiff did

                file for arbitration. Unfortunately, but unsurprisingly, the plaintiff has yet to receive a

                response to the filing.

           VIOLATION OF AMERICANS WITH DISABILITIES ACT AND NEW YORK CITY

                                             HUMAN RIGHTS LAW




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            48. In spite of the multiple injuries the plaintiff while in the line of duty, and in nothing short

               of a malicious act in or about June 2018, Principal Lopez-Garcia distributed the

               classroom reorganization sheet for the following school year, which indicated the

               plaintiff’s classroom would be moved from the third floor to the fourth floor (the highest

               floor in the building), in a room with no air conditioning. The lack of air condition is

               important to note because the plaintiff required an accommodation (which was granted)

               for air conditioning because of the plaintiff’s Chronic Obstructive Pulmonary Disease.

            49. A letter was written to advise of the plaintiff’s COPD and the accommodation necessary

               for the plaintiff to have an air conditioned room. Another letter from another doctor

               detailing the requirement for an accommodation for the plaintiff to not be going up and

               down stairs. There is no elevator in the school. The plaintiff filed a grievance regarding

               the assignment to a top floor, un-air conditioned classroom. The grievance would

               undoubtedly be extant today, but for the plaintiff being forced into retirement.

            50. Throughout every incident befalling the plaintiff, she has always followed proper

               procedure. Nevertheless, the defendants, individually and collectively, engaged in a

               pattern of behavior whereby they consistently denied the plaintiff proper relief by holding

               her claims in abeyance with their non-responsiveness and lack of definitive answers. The

               pattern continued even as the defendants’ pre-textual requirements were too much for the

               plaintiff to bear in continuing her employment.

            51. Following the plaintiff’s forced retirement, the pattern continued in the defendants’

               unlawful withholding of the majority of the plaintiff’s pension payments. The defendants

               alleged that the plaintiff owed a $259.55 deficit. The plaintiff sent the defendants a check

               for $259.55 in May 2018, but the issue was not remedied. For the subsequent 10 months,




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               the plaintiff repeatedly attempted to contact the defendants, but, fitting their pattern of

               behavior, they deliberately and maliciously withheld their allegation that they never

               received the check nor did they offer the plaintiff a viable solution. As of the filing of this

               action, the defendants are still depriving the plaintiff of her full pension.

                                                     DAMAGES

            52. As a result of the plaintiff’s injuries combined with the defendants deliberate acts of

               omission and commission, the defendants have:

                   a. denied the plaintiff’s several days off that were necessary due to icy conditions;

                   b. withheld the plaintiff’s pay from September 1, 2018 until the date of the

                       plaintiff’s forced retirement on December 7, 2018;

                   c. stolen 92 sick days from the plaintiff due to her absences and the denial of LODI;

                   d. withheld $10,700 of retroactive pay from the 2014 teachers’ contract;

                   e. contributed nothing to the plaintiff’s out of pocket medical costs in excess of

                       $8,000 and counting; and

                   f. withheld part of the plaintiff’s pension by paying her approximately $1,500 a

                       month when she should be receiving approximately $4,000 a month.

                              AS AND FOR A FIRST CAUSE OF ACTION FOR

                     VIOLATION OF THE AMERICANS WITH DISABILITIES ACT

            53. Plaintiff repeats, reiterates, and realleges, each of the allegations contained in the

               plaintiff’s as if more fully realleged and set forth at length herein.

            54. That the defendants’ actions unlawfully discriminated against the plaintiff as a result of

               her disability.




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            55. That the defendants knowingly and intentionally discriminated against the plaintiff by

               moving to a classroom on the top floor of the building despite being aware of her

               condition in both knees, as well as her left foot.

            56. That the defendants knowingly and intentionally changed the plaintiff’s classroom to one

               without air conditioning despite the plaintiff having an approved accommodation for an

               air conditioned room due to her COPD.

            57. As a result of the foregoing, the plaintiff sustained economic damages.

            58. As a result of the aforesaid, the plaintiff was rendered sick, lame, and disabled, suffered,

               still suffers, and will continue to suffer for some time to come from great pain, mental

               anguish, nervous shock, and was incapacitated from attending to her usual duties, all to

               her damage.

                            AS AND FOR A SECOND CAUSE OF ACTION FOR

                    VIOLATION OF THE NEW YORK CITY HUMAN RIGHTS LAW

            59. Plaintiff repeats, reiterates, and realleges, each of the allegations contained in the

               plaintiff’s as if more fully realleged and set forth at length herein.

            60. That the defendants’ actions unlawfully discriminated against the plaintiff as a result of

               her disability.

            61. That the defendants knowingly and intentionally discriminated against the plaintiff by

               moving to a classroom on the top floor of the building despite being aware of her

               condition in both knees as well as her foot.

            62. That the defendants knowingly and intentionally changed the plaintiff’s classroom to one

               without air conditioning despite the plaintiff having an approved accommodation for an

               air conditioned room due to her COPD.




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            63. As a result of the foregoing, the plaintiff sustained economic damages.

            64. As a result of the aforesaid, the plaintiff was rendered sick, lame, and disabled, suffered,

               still suffers, and will continue to suffer for some time to come from great pain, mental

               anguish, nervous shock, and was incapacitated from attending to her usual duties, all to

               her damage.

                              AS AND FOR A THIRD CAUSE OF ACTION FOR

                         NEGLIGENT MISREPRESENTATION CAUSING HARM

            65. Plaintiff repeats, reiterates, and realleges, each of the allegations contained in the

               plaintiff’s complaint as if more fully realleged and set forth at length herein.

            66. Defendants made multiple misrepresentations to the plaintiff, specifically relating to how

               to proceed regarding obtaining treatment for her injuries sustained while at work.

            67. Defendants were aware that their statements would be relied on by the plaintiff. The

               plaintiff waited years to schedule surgeries to repair her various injuries on the

               representations by Defendants that the plaintiff must wait for approval before undergoing

               the surgeries.

            68. Defendants’ misrepresentations came at a cost to the plaintiff of her health and

               employment.

            69. Any reasonable person in the plaintiff’s position, including the plaintiff, would rely on

               the defendants’ false, misleading and deceitful information and act accordingly.

            70. The plaintiff was in fact deceived and misled by the defendants.

            71. As a result of the foregoing, the plaintiff sustained economic damages in the form of

               medical expenses, lost wages, lost benefits, unlawfully reduced pension pay, as well as

               the loss of her job due to forced retirement.




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            72. As a result of the aforesaid, the plaintiff was rendered sick, lame, and disabled, suffered,

               still suffers, and will continue to suffer for some time to come from great pain, mental

               anguish, nervous shock, and was incapacitated from attending to her usual duties, all to

               her damage.

                            AS AND FOR A FOURTH CAUSE OF ACTION FOR

                                            BREACH OF CONTRACT

            73. Plaintiff repeats, reiterates, and realleges, each of the allegations contained in the

               plaintiff’s complaint designated as if more fully realleged and set forth at length herein.

            74. That in or about 1996, the defendants and the plaintiff entered into an employment

               agreement that governed the employer/employee relationship in the form of the collective

               bargaining agreement.

            75. That the egregious, unjustified conduct of the defendants constitutes a breach of the

               employment agreement between the plaintiff and defendants.

            76. As a result of the foregoing, the plaintiff sustained economic damages.

            77. As a result of the aforesaid, the plaintiff was rendered sick, lame, and disabled, suffered,

               still suffers, and will continue to suffer for some time to come from great pain, mental

               anguish, nervous shock, and was incapacitated from attending to her usual duties, all to

               her damage.

                              AS AND FOR A FIFTH CAUSE OF ACTION FOR

                                               PRIMA FACIE TORT

            78. Plaintiff repeats, reiterates, and realleges, each of the allegations contained in the

               plaintiff’s complaint designated as if more fully realleged and set forth at length herein.

            79. That the defendants’ actions constitute a prima facie tort.




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            80. That the defendants engaged in actions that harmed the plaintiff.

            81. That the defendants displayed disinterested malevolence in ignoring the plaintiff in her

                attempts to obtain information on how to proceed regarding her injuries.

            82. That the defendants displayed disinterested malevolence in moving the plaintiff’s

                classroom to the top floor of the building despite being fully aware of her COPD and

                knee and toe conditions.

            83. As a result of the foregoing, the plaintiff sustained economic damages.

            84. That by reason of the aforesaid, the plaintiff was rendered sick, lame, and disabled,

                suffered, still suffers, and will continue to suffer for some time to come from great pain,

                mental anguish, nervous shock, and was incapacitated from attending to her usual duties,

                all to her damage.

            WHEREFORE, the Plaintiff, CYNTHIA PANARELLA, demands judgment against

         defendants on the First, Second, Third, Fourth, and Fifth Causes of Action in the aggregate sum

         of $10,000,000.00, together with costs, interest, attorneys’ fees, punitive damages, and such

         other and further relief as this Court deems just and proper.

         Dated: Staten Island, New York
                October 18, 2019

                                                               ______________________________
                                                               Jonathan Behrins
                                                               The Behrins Law Firm
                                                               Attorneys for Plaintiff
                                                               Office & P.O. Address
                                                               1491 Richmond Road
                                                               Staten Island, New York 10304
                                                               (718) 447-5541
                                                               jb@behrinslaw.com




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                                            EXHIBIT B




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I. (a) PLAINTIFFS                                                                                                                            DEFENDANTS
CVnthia Panarella                                                                                                                       New York City Department of Education, United Federation of
                                                                                                                                        Teachers, Kasandra Lopez-Garcia

    (b)     County ofResidence o1'First Listed PlaintifT                            Richmond                                                 County of Residence of First Listed Defbndant           New                                  York
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  (c) Attorrrevs tl,irn Nilil.. AldrL'it. qftl ILltplt,tt,'Nuul,,'u                                                                          Attorneys (l/ Ktrovn)
Johathan B. Behrins, The Behrins Law Firm                                                                                               For DOE: Rebecca Quinn, New York City Law Department
1491 Richmond Rd., Staten lsland, NY 10304                                                                                              100 Church Street, New York, NY 10007
(718) 447-5541                                                                                                                          (212)356-4382                                        ,



II.   BASIS OF               JU   RISDICTION               1t'L,.n n n " x " i n ( )na Box ontlt)                      IlI. CITIZENSHIP OF PRINCIPAL PARTIES                                                                   ehcc on "X"       in onc ttox lbr I'tuinrill
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          [.J.S.                             d 3        Federal Question                                                                          PTF DEF                                PTF DET
              Plaintiff                                   (( 1.5.       Oorcrnntent Nt,l q      I'ofi),                    Citizenof'lhisState    O I O I IncorpomledorPrilcipalPlace tr 4 A4
                                                                                                                                                                                                           ofBusiness ln This State

D2        U.S. Govenrurcnt                   O    4     Diversity                                                          CitizeoofAnotherStat€ A 2                                       tr 2          Incorporatedrzr/PrincipalPlace                n 5 D5
             Defendant                                    (lndicetc ('itizenshtl, of I'arltcs in ltcilt       Ill)                                                                                          of Business ID Another State

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D 120 Marine                                D 3 l0 Airplane                              D     365 Personal L{ury -                     ofProperty             2   I   IJSC 88 I    D    423 Withdr"wal                         D    376 Qui Tarn (31 USC
D 130 Miller Act                            D    3l 5 Airplane Product                             Product Liability       f,     690 Other                                                  28 USC 157                                    3729(a))
D 140 Negotiable Inslnmrent                            t.iability                        t']   367 Health Care/                                                                                                                 D    400   State ReappoflionDrent
D 150 Recovery ofOver?ay,nent               D    320 Assault, t,ibel &                             Pharnraceutical                                                                                                              D    410   Antitrust
          &   Euforcernent   ofJ                     Slander                                       Personal hyury                                                                   J    820 Copyrights                         D    430   Banks and Banking
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D   152  Recovery ofDefaulted                          Liability                         fl    368 Asbestos Personal                                                                n    840 'fraderrrark                       O    460   Deporlation
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         ofVeteran's Benefits               D   350 Motor Vehicle                        ll    3?0 Other Fraud                        Act                                           ll   862 Black Lung (923)                   O    490 Cable/Sat ]'V
5   160 Stockholders' Suits                 0   355 Motor Vchicle                        O     371 Truth in Lending         lil   720 Labor/Managernent                             O    863 DIWC/Dlww (aos(g))                 D    850 Securities/Comnrodities/
o   | 90 Other Conhact                              Product Liability                    fl    380 Other Personal                       Relations                                   o    864 SSID Title XVt                              Exchange
o   195 Contract Product Liability          llJ 360 Other Personal                                 Properly Damage          0     740 Railrvay Labor Act                            O    86s RSI (405(g))                       D    890 Other Stahrtory Actions
n   | 96 Franchisc                                     hlury                             O     385 Property Danrage         0     75 I Fanrily and Medical                                                                      D    891 Agricultual Acts
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D 2 l0 Land Condennation                    fl   440 Other Civil Rights                        llabeas Corpus:                           Incorne Securily Act                       O    870 Taxes (U.S. Plaintiff              D    896 Arbitration
D 220 Foreclosure                           D    441 Voting                              D     463 Alien Detairree                                                                               or Defendant)                  D    899 Adnrinistlative Procedure
0   230 Rent Lease & Ejectrnenl             D    442 Employment                          D     510 Molions to Vacatc                                                                n    871     ll{S   'Ihird Party                     Act/Review or Appcal of
0   240 Tons to Lantl                       ll   443 llousing/                                     Seotence                                                                                      26 USC 7609                               Agency Decision
O   245 Ion I'loduct Liability                   Accornrnodatiors                        D     530 General                                                                                                                      D    950 Constitutionality    of
O   290 All Other Real Propery              X445 Aur".. rv/Disabilities -                D     535 Death Penaltl,                                                                                                                        State Statutes
                                                     Eurploynrent                              Other:                       O     462 Natrralization Application
                                            O    446 Anrer. w/Disabilities -             O     540 Mandarnus & Other        D     465 Other Lnnrigration
                                                       Other                             O     550 Civil Rights                         Aclions
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                                                   42 U.S.C. Sec. 12101, et seq.
VI.       CAUSE OF ACTION                         Brief descriotion of cause:
                                                   Alleged denial of reasonable accommodations.
vil                   ESTED                       il     CHeCr tF THIS tS A CI,ASS                   ACTION                       DEMAND                   $                                         CHECK YES only if dernanded in complaint:
           COMPLAINT:                                    UNDER Itl.JLE 23, Ir                   R.Cv.P                                 10,000'000.00                                                 JTIRY       DEMAND: O Yes XNo
vilr.         RELATED CASE(S)
                                                       (Scc instruction\).
              IF ANY                                                                     JUDGE                                                                                           DOCKET NUMBER
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    RECEII'I'#                         AMOIJNl'                                                     APPT-YING IFI)                                                     JUDGE                                      MAC. JUDGE
          Case 1:19-cv-06646-WFK-SJB Document 1 Filed 11/25/19 Page 22 of 22 PageID #: 22
                            CERTIFICATION OF ARBITRATION ELIGIBILITY
Local Arbitration Rule 83.7 provides that with certain exceptions, actions seeking money damages only in an amount not in excess of$150,000,
exclusive of interest and costs, are eligible for compulsory arbitration. The amount ofdamages is presumed to be below the threshold amount unless a
certification to the contrary is filed.

Case is Eligible for   Arbitration   tr
I,   Rebec€ Ouinn                                           counsel for           Department of Education     do hereby certify that the above captioned civil action is ineligible for
compulsory arbitration for the following reason(s)

           {             monetary damages sought are in excess of          $1   50,000, exclusive of interest and costs,

                         the complaint seeks injunctive relief,

                         the matter is otherwise ineligible for the following reason


                                 DISCLOSURE STATEMENT. FEDERAL RULES CIVIL PROCEDURE 7.1
                                  ldentify any parent corporation and any publicly held corporation that owns             10olo   or more or its stocks:




                                  RELATED CASE STATEMENT (Section Vlll on the Front of this Form)

to another civil case for purposes of this guidellne when, because of the similarity of facts and legal issues or because the cases arise from the same transactions or events, a



pending before the court."

                                                         NY.E DIVISION OF BUSINESS RULE 50.1(dX2)


1.)            ls the civil action being filed in the Eastern District removed from a New York State Court located in Nassau or Suffolk
               County?trYesBlNo
2.)            lf you answered "no" above:
               a) Did the events or omissions giving rise to the claim or claims, or a substantial part thereof, occur in Nassau or Suffolk
               County?trYes[lNo
               District? @                     Yes       -E
               b) Did the events or omissions oivincr rise to the claim or claims, or a substantial part thereof, occur in the Eastern
                                                                       No

               c) If this is a Fair Debt Collection Practice Act case, specifu the County in which the offending communication was
               received:

lf your answer to question 2 (b) is "No," does the defendant (or a majority of the defendants, if there is more than one) reside in Nassau or
                                   ,"r                        nt (or a majoritv of the claimants, if there is more than one) reside in Nassau or
3X[# 3llllilr"r,          '"fl 'rt"f!1           fl"",
               (Note: A corporation shall be considered a resident of the County in which it has the most significant contacts).

                                                                                        BAR ADMISSION

               I am currently admitted in the Eastern District of New York and currently a member in good standing of the bar of this court.

                                          @YestrNo
               Are you currently the subject of any disciplinary action (s) in this or any other state or federal court?

                                          tr               Yes       (lf yes, please          explain A               No




               I certify the accuracy of all information provided above.

               Signature
                                                                                                                                                                 L6t Modifi ed: ll/27 /2011
